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          Michael Puhl v. Hackney Kidron, et al.


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        21CI03424 MICHAEL PUHL VS.                                           Sep/09/2021 EMPLOYMENT DISPUTE           ACTIVE Rita
                  HACKNEY KIDRON                                                         DISCRIMINATION                      Donovan
                                                                                                                             Hathaway




        Parties
        Party Type        Name                                     Address

        DEFENDANT         VT HACKNEY KIDRON                        911 WEST 5TH STREET PO BOX 880, WASHINGTON, NC, 27889, USA

        DEFENDANT         VT HACKNEY INC                           911 WEST 5TH STREET PO BOX 880, WASHINGTON, NC, 27889, USA

        DEFENDANT         HACKNEY AND KIDRON                       911 WEST 5TH STREET PO BOX 880, WASHINGTON, NC, 27889, USA

        DEFENDANT         ST ENGINEERING HACKNEY INC               911 WEST 5TH STREET PO BOX 880, WASHINGTON, NC, 27889, USA

        PLAINTIFF ATTY    LAWRENCE D KERR                          302 WEST OTTERMAN STREET , GREENSBURG , PA, 15601

        PLAINTIFF         MICHAEL PUHL/AKA                         352 DOGWOOD DRIVE, DELMONT, PA, 15626, USA

        PLAINTIFF         MICHAEL D PUHL                           352 DOGWOOD DRIVE, DELMONT, PA, USA
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